 Case 3:08-cr-30235-NJR              Document 163 Filed 08/31/09       Page 1 of 1    Page ID
                                               #295



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                        )
                                                 )
                        Plaintiff,               )
                                                 )
vs.                                              )   CRIMINAL NO. 08-30235-01-GPM
                                                 )
STEVEN A. WOOLEY,                                )
                                                 )
                        Defendant.               )


                   ORDER AND NOTICE OF SENTENCING
MURPHY, District Judge:

       Defendant Steven A. Wooley pleaded guilty to Count One of the Superseding Indictment,

and no objections have been filed to the Report and Recommendation of the United States

Magistrate Judge. A Presentence Investigation Report is ordered. The Court will defer a decision

on acceptance of the plea of guilty and any plea agreement pending review of the Presentence

Investigation Report.

       Sentencing is scheduled for Monday, January 11, 2010, at 9 a.m., at the East St. Louis,

Illinois Courthouse.

       IT IS SO ORDERED.

       DATED: 8/31/09

                                                     s/ ZA ctàÜ|v~ `âÜÑ{ç
                                                     G. Patrick Murphy
                                                     United States District Judge
